     FillCase
          in this 19-12618
                  information toDoc   1 your
                                identify Filed  09/26/19
                                             case:              Entered 09/26/19 14:57:32 Main Document Page 1 of 31
     United States Bankruptcy Court for the:

     ____________________
     Eastern               District of _________________
             District of Louisiana     (State)
                              19-
     Case number (If known): _________________________ Chapter you are filing under:
                                                           □
                                                       ✔ Chapter 7
                                                             Chapter 11
                                                            □
                                                             Chapter 12                                                                 Check if this is an
                                                            □
                                                             Chapter 13                                                                    amended filing
                                                            □


Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            04/19

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                        Southern   Pipeline Services LLC
                                           ______________________________________________________________________________________________________




2.    All other names debtor used          ______________________________________________________________________________________________________
      in the last 8 years                  ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
      Include any assumed names,
                                           ______________________________________________________________________________________________________
      trade names, and doing business
      as names                             ______________________________________________________________________________________________________




3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                     Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business
                                               942 Highway 90 East                                      _______________________________________________
                                           ______________________________________________
                                           Number     Street                                            Number     Street

                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                               Raceland                    LA      70394
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Lafourche
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)                www.southernpipelineservices.com
                                           ____________________________________________________________________________________________________


6.    Type of debtor                       
                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           □
                                            Partnership (excluding LLP)
                                           □
                                            Other. Specify: __________________________________________________________________
                                           □


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
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Debtor
                Southern Pipeline Services LLC
                _______________________________________________________                                               19-
                                                                                               Case number (if known)_____________________________________
                Name



                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         □
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         □
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                         □
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         □
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         □
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         □
                                         
                                         ✔ None of the above
                                         □

                                         B. Check all that apply:

                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                         □
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                         □
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                         □

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            7120
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the
      debtor filing?                     
                                         ✔ Chapter 7
                                         □
                                          Chapter 9
                                         □
                                          Chapter 11. Check all that apply:
                                         □
                                                        Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                       □
                                                             insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                             4/01/22 and every 3 years after that).
                                                         
                                                         □      The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor
                                                             is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                         
                                                         □    A plan is being filed with this petition.

                                                         
                                                         □    Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                             in accordance with 11 U.S.C. § 1126(b).

                                                         
                                                         □    The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                         
                                                         □    The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                          Chapter 12
                                         □
9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes.
                                         □         District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a
      business partner or an             
                                         □ Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________


     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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Debtor
              Southern Pipeline Services LLC
              _______________________________________________________                                                   19-
                                                                                                  Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this         Check all that apply:
      district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             ✔

                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have           
                                            □
                                            ✔ No
      possession of any real                
      property or personal property         □ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                  Number        Street

                                                                                  ____________________________________________________________________

                                                                                  _______________________________________       _______     ________________
                                                                                  City                                          State       ZIP Code


                                                      Is the property insured?
                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name       ____________________________________________________________________

                                                               Phone              ________________________________




            St a t ist ic a l a nd a dm inist ra t ive informa t ion



13.   Debtor’s estimation of                Check one:
      available funds                        Funds will be available for distribution to unsecured creditors.
                                             ✔


                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                             1-49                             1,000-5,000                              25,001-50,000
14.   Estimated number of                    50-99                            5,001-10,000                             50,001-100,000
      creditors
                                             100-199                          10,001-25,000                            More than 100,000
                                             200-999
                                             ✔




                                             $0-$50,000                       $1,000,001-$10 million
                                                                              ✔
                                                                                                                         $500,000,001-$1 billion
15.   Estimated assets                       $50,001-$100,000                 $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                             $100,001-$500,000                $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                             $500,001-$1 million              $100,000,001-$500 million                More than $50 billion



  Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
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               Southern Pipeline Services LLC                                                                            19-
Debtor         _______________________________________________________                            Case number (if known)_____________________________________
               Name



                                            $0-$50,000                         $1,000,001-$10 million
                                                                                   ✔
                                                                                                                          $500,000,001-$1 billion
16.   Estimated liabilities                 $50,001-$100,000                   $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


             Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                               petition.
      debtor
                                              I have been authorized to file this petition on behalf of the debtor.

                                              I have examined the information in this petition and have a reasonable belief that the information is true and
                                               correct.


                                           I declare under penalty of perjury that the foregoing is true and correct.

                                                              09/26/2019
                                               Executed on _________________
                                                           MM / DD / YYYY


                                            /s/ Corey Zeringue
                                               _____________________________________________               Corey Zeringue
                                                                                                          _______________________________________________
                                               Signature of authorized representative of debtor           Printed name

                                                      Manager
                                               Title _________________________________________




18.   Signature of attorney
                                            /s/ Ryan Richmond
                                               _____________________________________________              Date         09/26/2019
                                                                                                                       _________________
                                                Signature of attorney for debtor                                       MM   / DD / YYYY



                                                Ryan Richmond
                                               _________________________________________________________________________________________________
                                               Printed name
                                                Richmond Law Firm, LLC
                                               _________________________________________________________________________________________________
                                               Firm name
                                                17732 Highland Road Suite G-228
                                               _________________________________________________________________________________________________
                                               Number     Street
                                                Baton Rouge
                                               ____________________________________________________             LA            70810
                                                                                                              ____________ ______________________________
                                               City                                                           State        ZIP Code

                                                (225) 572-2819
                                               ____________________________________                              ryan@rjrichmondlaw.com
                                                                                                              __________________________________________
                                               Contact phone                                                  Email address



                                                30688
                                               ______________________________________________________ ____________
                                               Bar number                                             State




  Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 4
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                      WRITTEN CONSENT OF THE MEMBERS
                      OF SOUTHERN PIPELINE SERVICES LLC

          The undersigned, being all the members of Southern Pipeline Services LLC, a
    Louisiana limited liability company (the "Company''), hereby unanimously agree and
    consent to the adoption of the following resolutions (the "Resolutions") effective as of
    Tuesday, September 24, 2019:

           RESOLVED that the members of the Company have unanimously determined
    that it is advisable and in the best interests of the Company that the Company file a
    voluntary petition see-king relief under Chapter 7 of Title 11 ofthe United States Code
    (the "Bankruptcy Code"), in which liquidation of the Company will be sought; and the
    filing of such petition be, and it hereby is, authorized in all respects.

          RESOLVED that Corey Zeringue, a member of the Company, be and is hereby
    appointed as the authorized signatory (the "Authorized Signatory") of the Company
    in connection with the Chapter 7 proceedings authorized herein.

          RESOLVED that the Authorized Signatory be, and is hereby authorized,
    empowered and directed for, and in the name of, and on behalf of, the Company to
    execute, deliver and verify or certify a petition under Chapter 7 of the Bankruptcy
    Code and to cause the same to be filed in the United States Bankruptcy Court for the
    Eastern District of Louisiana (the "Bankruptcy Court") at such time as the
    Authorized Signatory executing the same shall determine.

          RESOLVED, that the Authorized Signatory be, and is hereby authorized,
    empowered and directed for, and in the name of, and on behalf of, the Company to
    execute and file all petitions, schedules, lists, pleadings and other papers, and any
    amendments or modifications of the above, and to take any and all actions that the
    Authorized Signatory may deem necessary, proper or desirable in connection with the
    Chapter 7 case.

          RESOLVED, that Richmond Law Firm~ LLC ("Richmond") be and it is hereby
    employed to render legal services to, and to represent the Company in connection
    with the Chapter 7 bankruptcy case as set forth in Richmond's engagement
    agreement and any other related matters in connection therewith, on such terms as
    the Authorized Signatory shall approve.

           RESOLVED, that the Company shall provide Richmond with a retainer of
    $5,335.00, which consists of a flat fee of $5,000.00 for Richmond's attorneys' fees and
    costs and the applicable Chapter 7 filing fee of $335.00.

         RESOLVED, that an Authorized Signatory be, and is hereby authorized,
    empowered and directed for, on behalf of, and in the name of, the Company to retain
    and employ other attorneys, investment bankers, accountants, restructuring
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    professionals, financial advisors, and other professionals to assist in the Company's
    Chapter 7 case on such terms as are deemed necessary, proper, or desirable.

           RESOLVED, that the Authorized Signatory and any employees or agents
    (including counsel) designated by or directed by the Authorized Signatory, be, and is
    hereby authorized, empowered and directed to cause the Company to enter into,
    execute, deliver, certify, file, record, and perform such agreements, instruments,
    motions, affidavits, applications for approvals or rulings of governmental or
    regulatory authorities certificates or other documents, and to take such other actions,
    as in the judgment of an Authorized Signatory shall be necessary, proper, desirable
    and consistent with the foregoing resolutions and to carry out and put into effect the
    purposes of the foregoing resolutions, and the transactions contemplated by these
    resolutions, their authority thereunto to be evidenced by the taking of such actions.

           RESOLVED that the Authorized Signatory be, and is hereby authorized,
    empowered and directed to cause all fees, costs and expenses related to the
    consummation of the transactions contemplated by the foregoing resolutions, which
    any of the Authorized Signatory determines to be necessary or appropriate in order
    to effectuate-the general intent of the foregoing resolutions, the payment of such fees,
    costs and expenses being conclusive evidence of such authority.

           RESOLVED that the Authorized Signatory be, and is hereby authorized,
    empowered and directed to execute and deliver any and all documents and
    instruments deemed necessary or appropriate by the Authorized Signatory, and to
    take any and all such further action, in the name of and on behalf of the Company,
    which the Authorized Signatory determines to be necessary or appropriate in order
    to effectuate the general intent of the foregoing resolutions, the signature of the
    Authorized Signatory being conclusive evidence of such authority.

          RESOLVED that the Authorized Signatory be and is hereby authorized,
    empowered and directed for, and on behalf of, and in the name of, the Company to
    amend, supplement, or otherwise modify from time to time the terms of any
    documents, certificates, instruments, agreements or other writings referred to in the
    foregoing Resolutions.

          RESOLVED, that any and all actions heretofore or hereafter taken by the
    Authorized Signatory, employee, or agent (including counsel) of the Company within
    the terms of the foregoing resolutions be- and they are hereby ratified, confirmed,
    authorized and approved as the act and deed of the Company.

            RESOLVED, that the Authorized Signatory, be, and is hereby authorized and
    empowered to certify on behalf of the Company, as to all matters pertaining to the
    acts, transactions or agreements contemplated in any of the foregoing resolutions.

          RESOLVED, that the undersigned members of the Company acknowledge
    that Richmond does not represent them, individually, but rather that Richmond
                                               2
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    represents the Company, a separate and distinct juridical person, and thus, it may
    be in their best interests to retain separate legal counsel, individually.

          RESOLVED, that the undersigned members are aware of and acknowledge
    that they may be the subject of actions under Chapter 5 of the Bankruptcy Code
    and/or non-bankruptcy law, and thus, it may be in their best interests to retain legal
    counsel, individually.

           RESOLVED, that the undersigned members are aware of and acknowledge
    that they automatic stay under section 362(a) of the Bankruptcy Code does not extend
    to them, and thus, creditors may pursue actions against them to the extent they are
    co-obligors of the Company.

    READ AND UNANIMOUSLY AGREED TO:


                                                      r- 2 "-< ~(°/
                                                  Date




                                              3
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   24HR Safety                                Access Radiology
   4912 Railroad Street                       P.O. Box 60962
   Deer Park, TX 77536                        New Orleans, LA 70160

   24HR Safety                                Action Industries, Inc.
   6400 Hwy 73                                PO Box 247
   Geismar, LA 70734                          Paincourtville, LA 70391

   A Mereditch Schneider Co., LLC             Addiction Diesel Performance LLC
   P. O. Box 90730                            148 Thompson Road
   Atlanta, GA 30364                          Houma, LA 70363

   A&E Farms of Larose LLC                    Adobe
   13445 East Main St.                        7402 Eastex Freeway
   Larose, LA 70373                           Houston, TX 77093

   A. Angelette & Sons, LLC                   Affinity Immediate Care
   7739 Highway 308                           P.O. 9010
   Lockport, LA 70374                         Galveston, TX 77553

   AAA Cooper Trans.                          Affordable Wholesale LLC
   P.O. Box 935003                            5288 Hwy. 1
   Atlanta, GA 31193                          Raceland, LA 70394

   AAR Electronics, Inc.                      Albert Kemper
   P.O. Box 4336                              21610 Britton Hill Way
   Houma, LA 70361                            Katy, TX 77449

   AAR Electronics, Inc.                      Alex Callahan
   1620 Coteau Rd                             153 B + K Court
   Houma, LA 70364                            Houma, LA 70363

   ACE Hardware                               Allemands Culverts, LLC
   3951 LA-1                                  224 Central Lafourche Drive
   Raceland, LA 70394                         Raceland, LA 70394

   ACME Truck Line, Inc                       Allfax
   935 Blimp Road                             130 James Drive East
   Houma, LA 70363                            Saint Rose, LA 70087

   ADT Security                               Allie Catz
   P.O. Box 371878                            237 Guidry St
   Pittsburgh, PA 15250                       Bourg, LA 70343

   AIRGAS USA, LLC                            Allied Shipyard, Inc.
   1986 Grand Calliou Rd                      P.O. Box 1240
   Houma, LA 70363                            Larose, LA 70373

   AT&T Cellular Phones                       Ally
   P. O. Box 6463                             P. O. Box 78234
   Carol Stream, IL 60197                     Phoenix, AZ 85062

   AT&T Internet & Office Phones              Ally Financial
   PO Box 5019                                500 Woodward Avenue
   Carol Stream, IL 60197                     10th Floor, Corp. Sec.
                                              Detroit, MI 48226
   AT&T Teleconference
   PO Box 5002                                Aluminum & Stainless, Inc.
   Carol Stream, IL 60197                     101 Thru-Way Park
                                              Broussard, LA 70518
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   Amato Law, LLC                                  Austyn Sikes
   5339 Citrus Boulevard                           239 Dampeer St.
   Apt. L368                                       Crystal Springs, MS 39059
   New Orleans, LA 70123
                                                   Auto Zone
   Ameresco Solar                                  4560 LA 1
   111 Speen Street                                Raceland, LA 70394
   Suite 410
   Framingham, MA 01701                            Avaya, Inc.
                                                   P.O. Box 1379
   American Cancer Society                         Raymond, MS 39154
   250 Williams St., NW
   Suite 400                                       Avetta
   Atlanta, GA 30303                               549 Timpanogos Pkwy
                                                   Building G
   American Funding                                Orem, UT 84097
   30 Park Road
   Eatontown, NJ 07724                             B & B Hardware & Rental
                                                   13222 West Main St.
   Amory HMA Physician Management                  Larose, LA 70373
   410 Gilmore Drive
   Amory, MS 38821                                 B & H Fishing & Rental
                                                   296 Westside Drive
   Anaka Compeaux                                  Vidalia, LA 71373
   606 West 13th St.
   Lockport, LA 70374                              B & P Swab Services, Inc.
                                                   P.O. Box 906
   Andre Callais                                   Columbia, MS 39429
   124 West 101st Street
   Cut Off, LA 70345                               B & S Equipment Co., Inc
                                                   3601 Patriot Street
   Andrews Meyers                                  Harvey, LA 70058
   1885 Saint James Place
   15th Floor                                      B Clean, LLC
   Houston, TX 77056                               P. O. Box 1054
                                                   Laurel, MS 39441
   Angelette & Picciola, LLC
   PO Box 970                                      BFS-USA Group LLC d/b/a Business Finance Solu
   Larose, LA 70373                                148 Camino Del Sol
                                                   Unit A
   Anthony Hardwood                                Del Valle, TX 78617
   P.O. Box 137
   Bearden, AR 71720                               BFS-USA Group LLC d/b/a Business Finance Solu
                                                   P.O. Box 81722
   Arabie Trucking Services, LLC                   Austin, TX 78708
   163 Lincoln Lane
   Thibodaux, LA 70301                             BK Corrosion, LLC
                                                   4411 Navigation Blvd.
   Arch Oilfield & Machine Shop Services, LLC      Houston, TX 77011
   20987 Hwy 1
   Golden Meadow, LA 70357                         Bab's Fab, LLC
                                                   1528 Hwy 654
   Asset Account Associated Staffing Consultants   Gheens, LA 70355
   P.O. Box 213
   Houma, LA 70361                                 Badger Daylighting Corp.
                                                   75 Remittance Drive
   Austin Dardar                                   Suite 3185
   141 West 137th St.                              Chicago, IL 60675
   Cut Off, LA 70345
                                                   Badger Daylighting Corp.
                                                   8930 Motorsports Way
                                                   Brownsburg, IN 46112
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    Badger Daylighting Corp.                   Blanchard's Trailer Unlimited
    723 South Casino Center Blvd.              5006 Hwy 311
    2nd Floor                                  Houma, LA 70360
    Las Vegas, NV 89101
                                               Blue Cross Blue Shield
    BankDirect Capital Finance                 P.O. Box 650007
    150 North Field Drive                      Dallas, TX 75265
    Suite 190
    Lake Forest, IL 60045                      Bluewater Rubber & Gasket
                                               17650 Hwy 3235
    Barbara Zerinque                           Galliano, LA 70354
    10364 Highway 1
    Lot 1                                      Bonnie Sinclair
    Lockport                                   5331 Gladeside Drive
    LA 70374                                   Katy, TX 77449

    Barousse Equipment Repair, LLC             Bottom Line Equipment LLC
    3901 Grilletta Ct.                         P.O. Box 81217
    Marrero, LA 70072                          Lafayette, LA 70598

    Barrilleaux Processing LLC                 Brandon Delatte
    13060 LA-308                               179 East 75th Street
    Labadieville, LA 70372                     Cut Off, LA 70345

    Basic Energy Services, L.P.                Brazoria County Tax Office
    801 Cherry St.                             P.O. Box 1586
    Suite 2100                                 Lake Jackson, TX 77566
    Fort Worth, TX 76102
                                               Breaux Motel
    Bay Area Fence                             13343 Hwy 90
    7419 N Highway 146                         Boutte, LA 70039
    Baytown, TX 77523
                                               Breaux Petroleum Products Inc
    Bayou Boat Rentals, Inc                    237 N Barrios St
    P.O. Box 583                               Lockport, LA 70374
    Des Allemands, LA 70030
                                               Bret's Diesel
    Bayou Supply & Safety                      126 Loisland Ave
    24 Coquille Drive                          Galliano, LA 70354
    Belle Chasse, LA 70037
                                               Brett Clark
    Bearing Service & Supply                   305 River Oaks Dr.
    2576 Lester Street                         West Monroe, LA 71291
    Harvey, LA 70058
                                               Brian P Biek
    Beevers & Beevers LLP                      12410 Stafford Springs
    210 Huey P Long Ave                        Houston, TX 77077

    Berkman Financial                          Brock Hebert
    40 Exchange Pl                             237 Guidry St.
    New York, NY 10005                         Bourg, LA 70343

    Best Buy                                   Brook Angelette
    1601 Westbank Expy                         14790 Highway 3235
    Harvey, LA 70058                           Cut Off, LA 70345

    Blake A. Compeaux                          Brown & Brown
    606 West 13th St                           1515 Poydras Street
    Larose, LA 70373                           Suite 1150
                                               New Orleans, LA 70112
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    Bryan Orgeron                                   CSC of St. Tammany Parish, Inc. c/o Home Depo
    134 Antoine Drive                               4600 Highway 22
    Lockport, LA 70374                              Suite 9
                                                    Mandeville, LA 70471
    Buckhorn Rentals, LLC
    292 Equity Blvd                                 Caliber Construction Services, LLC
    Houma, LA 70360                                 176 Southern Comfort Lane
                                                    Lockport, LA 70374
    Buddy Thibodaux
    133 East 50th Street                            California Contractors Supplies, Inc
    Cut Off, LA 70345                               7729 Burnet Avenue
                                                    Van Nuys, CA 91405
    Busenlener & Johnson
    2305 N. Hullen Street                           Callais Office Supply
    Suite 10                                        14402 West Main
    Metairie, LA 70001                              Cut Off, LA 70345

    Business Merchant Funding                       Cameron Parish Police Jury
    680 Central Ave                                 P.O. Box 1280
    Cedarhurst, NY 11516                            Cameron, LA 70631

    C & T Motorsports                               Capital One
    1002 Hyland Drive                               15000 Capital One Drive
    Lockport, LA 70374                              Richmond, VA 23238

    C T Corporation System c/o Badget Daylighting   Capital One Corporate Cards
    3867 Plaza Tower Drive                          2245 Notrh Loop 336 West
    Baton Rouge, LA 70816                           Suite B
                                                    Conroe, TX 77304
    C.H. Robinson
    P.O. Box 9121                                   Capital One-Spark Credit Card
    Minneapolis, MN 55480                           P.O. Box 60599
                                                    City Of Industry, CA 91716
    CAT Financial Commercial
    P. O. Box 978595                                Car Quest
    Dallas, TX 75397                                13413 Highway 90
                                                    Boutte, LA 70039
    CFG Merchant Solutions
    85 Broad Street                                 Carolina Carports
    Floor 18                                        187 Cardinal Ridge Trail
    New York, NY 10004                              Dobson, NC 27017

    CI Corrosion Solutions, LLC                     Carrie Voisin Trosclair
    808 Monroe St.                                  403 Bayou Dulage Road
    Kilgore, TX 75662                               Houma, LA 70363

    CNA Insurance                                   Cash Magic
    P.O.Box 790094                                  109 S Service Rd
    Saint Louis, MO 63179                           Raceland, LA 70394

    COMDATA                                         Cash Magic
    5301 Maryland Way                               1541 Grand Caillou Rd
    Brentwood, TN 37027                             Houma, LA 70363

    CORRPRO                                         Cathodic Rectifiers, Inc.
    7000 A Hollister                                802 Fisher Road
    Suite 300                                       Longview, TX 75604
    Houston, TX 77040
                                                    Central Lafourche Finance Inc.
                                                    4313 Hwy 1
                                                    Suite C
                                                    Raceland, LA 70394
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    Cerebral Palsy of LA                            Clean Harbors Environmental Services
    P. O. Box 745                                   P.O. Box 3442
    Central Telethon Account, State Bank & T        Boston, MA 02241
    Golden Meadow, LA 70357
                                                    Clear Enterprise, LLC
    Chabill's Tire Service                          1298 Gumpond Beall Rd.
    P.O. Box 2504                                   Lumberton, MS 39455
    Morgan City, LA 70381
                                                    Clovelly Management
    Chad Birkhoff                                   P.O. Box 315
    2701 Airline Drive                              Lockport, LA 70374
    Suite K, #165
    Metairie, LA 70001                              Coast Machinery, LLC
                                                    10012 Umbehagen Lane
    Chaisson's Notary Service                       Baton Rouge, LA 70817
    b 103, LA-20
    Schriever, LA 70395                             Coastal Broadcasting of Larose, Inc
                                                    11603 Hwy 308
    Challenger Drilling, Inc.                       Larose, LA 70373
    P. O. Box 1988
    Tomball, TX 77377                               Coastal Safety Management, LLC
                                                    200A Venture Blvd
    Chamber Southwest LA                            Houma, LA 70360
    P.O. Box 3110
    Lake Charles, LA 70602                          Coburn Supply
                                                    P.O. Box 99001
    Champion Corrosion Products                     Denham Springs, LA 70727
    P.O. Box 2094
    Seguin, TX 78155                                Cody Theriot
                                                    1002 Hyland Drive
    Chauvin Law Firm, LLC                           Lockport, LA 70374
    1904 Ormond Blvd.
    Suite 203                                       Compeaux's Auto Repairs, Inc.
    Destrehan, LA 70047                             P.O. Box 488
                                                    Cut Off, LA 70345
    CheckPoint
    21356 Marion Lane                               Complete Network Management, Inc
    Mandeville, LA 70471                            649 Enterprise Drive
                                                    Houma, LA 70360
    Chem Tel Inc. Emergency Response Communicatio
    1305 N. Florida Avenue                          Complete Occupational Health Services
    Tampa, FL 33602                                 13554 Highway 3235
                                                    Larose, LA 70373
    Chris Foret
    147 Landmark Drive                              Connor Perilloux
    Raceland, LA 70394                              38248 Hebert Lane
                                                    Ponchatoula, LA 70454
    City of Baton Rouge
    1100 Laurel Street                              Consolidated Pipe & Supply Co, Inc.
    Suite 104                                       P. O. Box 2153
    Baton Rouge, LA 70802                           Birmingham, AL 35287

    City of Point Comfort                           Copeland Electric Co. LLC
    P.O. Box 497                                    P.O. Box 4051
    Point Comfort, TX 77978                         Monroe, LA 71211

    Clarkco Oilfield Services, Inc.                 Cord L. Morgan
    P.O.Box 341                                     312 East 15th St.
    Heidelberg, MS 39439                            Crowley, LA 70526
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    Corey Zeringue                             DISA Global Solutions, Inc.
    10364 Highway 1                            P.O. Box 123731
    Lot 1                                      Dallas, TX 75312
    Lockport
    LA 70374                                   DRM Equipment, LLC
                                               10702 Glenn Watts Rd
    Cornelius Roundtree                        Baton Rouge, LA 70818
    2200 West Baker Rd.
    Apt. #227                                  DSM
    Baytown, TX 77521                          7301 Hwy 183 South
                                               Austin, TX 78744
    Corporate Turnaround
    95 State Route 17                          Dale's Quality Car Care
    Paramus, NJ 07652                          1414 Manhattan Blvd.
                                               Harvey, LA 70058
    Corporation Service Company c/o Lowe's
    501 Louisiana Avenue                       Daniel Gonzalez
    Baton Rouge, LA 70802                      114 West 72 Street
                                               Cut Off, LA 70345
    Corrosion & Coating Services, LLC
    5858 County Road 33                        Darien Thompson
    Ashville, AL 35953                         177 Brocato Lane
                                               Raceland, LA 70394
    Cottman Transmission
    14031 Hwy 90                               David's Wrecker Service, LLC
    Suite B                                    137 Linda Street
    Boutte, LA 70039                           Lockport, LA 70374

    Cox Cable                                  Days Inn & Suites
    P.O. Box 61027                             15765-10 E. Fwy
    New Orleans, LA 70161                      Channelview, TX 77530

    Crosby Dredging, LLC                       Dean Cowart
    17771 Highway 3235                         36 London Street South
    Galliano, LA 70354                         Lucedale, MS 39452

    Crossfit Petal                             Destroy the Box
    8 Professional Parkway                     2819 Manor Ridge Ct.
    Petal, MS 39465                            Katy, TX 77494

    Culvert Installation Specialties, LLC      Devin Dardar
    14117 East Main                            141 West 137th Street
    Cut Off, LA 70345                          Cut Off, LA 70345

    Curtis & Son                               Dixie Mat LLC
    P.O. Box 767                               2438 Highway 98 East
    Liberty, TX 77575                          Columbia, MS 39429

    D.O.T. (Dept of Public Safety)             Dixie Office Products
    PO Box 61047                               3760 Airline Drive
    New Orleans, LA 70161                      Metairie, LA 70001

    DAHC, LLC                                  Dixie Oilfield
    2701 Airline Drive                         P.O. Box 2711
    Suite K, #165                              Laurel, MS 39442
    Metairie, LA 70001
                                               Doggett
    DB Services                                10110 Daradale Ave.
    P.O. Drawer 980                            Baton Rouge, LA 70816
    Belle Chasse, LA 70037
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    Domingue, Szabo & Associates, Inc.         Earl's Transmission Services & Auto
    102 Asma Boulevard                         2710 Highway 1
    Suite 305                                  Raceland, LA 70394
    Lafayette, LA 70508
                                               Effective Solar Products, LLC.
    Don's Machine Shop                         P.O. Box 584
    1304 Canal Blvd                            Lockport, LA 70374
    Thibodaux, LA 70301
                                               Ellendale Country Club, Inc.
    Don's Wholesale                            P.O. Box 22
    7227 Johnston Street                       Houma, LA 70361
    Lafayette, LA 70503
                                               Emery Equipment
    Donlin Construction, LLC                   12181 Airline Highway
    P.O. Box 691                               Baton Rouge, LA 70817
    Larose, LA 70373
                                               Emtek Matting Solutions, LLC
    Donlin Construction, LLC                   P.O. Box 137
    140 Bayou Portuguese Drive                 Bearden, AR 71720
    Larose, LA 70373
                                               Energes Hydro
    Double Oak Garden Center                   1328 E. 18th Street
    150 Highway 654                            Greeley, CO 80631
    Mathews, LA 70375
                                               Entergy
    Drew R. Breeland                           446 North Boulevard
    24 Gravel Pit Road                         Baton Rouge, LA 70802
    Sandy Hook, MS 39478
                                               Entergy
    Driveline-N-Automotive                     P.O. Box 8108
    6515 Jefferson Hwy.                        Baton Rouge, LA 70891
    Harahan, LA 70123
                                               Equipco
    Dufrene Industries, LLC                    1793 Julia Street
    114 Cadow Street                           New Orleans, LA 70113
    Paradis, LA 70080
                                               Eric Adams Welding Service, LLC
    Dustin Vegas                               136 Widow Landrum Road
    12203 West Ave B                           Ovett, MS 39464
    Cut Off, LA 70345
                                               Everest Business
    Dylan J Lemoine                            2001 NW 107th Avenue
    17001 Bentons Ferry Avenue                 3rd Floor
    Greenwell Springs, LA 70739                Miami, FL 33172

    E & L Enterprises                          Excel Tire Service
    120 Airport Road                           1708 Paul Maillard Road
    Galliano, LA 70354                         Boutte, LA 70039

    EDC Trucking                               Expansion Capital Group
    3306 Highway 586                           5020 S. Broadband Lane
    Oak Grove, LA 71263                        Suite 100
                                               Sioux Falls, SD 57108
    ES&H Consulting Services, Inc.
    2802 Flintrock Trace                       Express Supply & Steel
    Austin, TX 78738                           P.O. Box 5091
                                               Houma, LA 70361
    Eagle Industrial Equipment
    P.O. Box 616                               Fab-Con, Inc.
    Lockport, LA 70374                         P.O. Box 520
                                               Gonzales, LA 70707
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    Farwest Corrosion Control                  GEMCAP Lending, LLC
    12029 Regentview Avenue                    24955 Pacific coast Hwy
    Downey, CA 90241                           Ste. A202
                                               Malibu, CA 90265
    Faucheux Services, Inc.
    Post Office Box 70                         GIS
    Baldwin, LA 70514                          18838 LA 3235
                                               Galliano, LA 70354
    First Insurance Funding Corp.
    P.O. Box 66468                             GMC Electrical
    Chicago, IL 60666                          2027 E. Cedar Street
                                               Ontario, CA 91761
    Flashpoint
    2690 Cobb Pkwy,                            GOL, LLC
    Suite A5- 386                              P.O. Box 309
    Smyrna, GA 30080                           Raceland, LA 70394

    Florida Marine Aggregate                   Galvotec Corrosion Serives
    2360 5th St.                               6712 S. 36th Street
    Mandeville, LA 70471                       Mcallen, TX 78503

    Fort Bend County Toll Road Authority       Gardner Realtors
    16107 Kensington Dr.                       13371 Highway 90
    Sugar Land, TX 77479                       Suite B
                                               Boutte, LA 70039
    Frank Lorenzo Jr.
    3669 Inwood Avenue                         Gary Angelette
    New Orleans, LA 70131                      114 Alpine Drive
                                               Pinola, MS 39149
    Freedom Energy Solutions, LLC
    P.O. Box 3792                              Gary Champagne
    Houma, LA 70361                            P.O. Box 278
                                               Boutte, LA 70039
    Frogco Amphibious Equipment
    P.O. Box 3681                              Gary Plaisance
    Houma, LA 70361                            2746 Bayou Blue Rd. Lot 2
                                               Houma, LA 70364
    Fuelman
    P.O. Box 105080                            Gator Crane Services, LLC
    Atlanta, GA 30348                          1107 W Tunnel Blvd.
                                               P.O. Box 3298
    Fundzini, LLC                              Houma, LA 70361
    325 Division Ave.
    Suite 201                                  Gator Point Kennels
    Brooklyn, NY 11211                         60 Ryals Road
                                               Tylertown, MS 39667
    G & F Sporting Center
    2340 Hwy 182                               Gator Rigging, Inspection, Testing and Supply
    Raceland, LA 70394                         9607 Highway 182 E
                                               Morgan City, LA 70380
    G & G Hydraulic
    P.O. Box 559                               Gaubert Oil
    Westwego, LA 70096                         P.O. Box 310
                                               Thibodaux, LA 70302
    G Marine, Inc.
    4952 Madaline Lane                         Gaudet Electric LLC
    Lafitte, LA 70067                          2018 South Bayou Dr
                                               Golden Meadow, LA 70357
    GCO Supply, Inc.
    P.O.Box 850638                             Geaux Pass
    Mobile, AL 36685                           1821 S. Alex Plaisance Blvd.
                                               Golden Meadow, LA 70357
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    George Miller Jr.                          H & E Equipment Exchange, LLC
    21273 Dutch Road                           P.O. Box 849850
    Franklinton, LA 70438                      Dallas, TX 75284

    Gerald Beasley                             Haag & Trammell, Inc.
    506 Island Drive                           200 Ridgelake Drive
    West Monroe, LA 71291                      Metairie, LA 70001

    Good Loans                                 Hall Tank Company
    2351 W 3rd Street                          P.O. Box 5787
    Los Angeles, CA 90057                      North Little Rock, AR 72119

    Grabert & Son Motor Service,Inc            Hanos Excavators, Inc.
    P.O. Box 1044                              1239 Devonshire Place
    Houma, LA 70361                            Greenville, MS 38701

    Grainger                                   Harbor Freight Tools
    5366 LA-311                                Harbor Freight Tools #100
    Houma, LA 70360                            Metairie, LA 70003

    Grand Isle Rent                            Harbor Freight Tools
    533-G Versailles Blvd.                     6409 Airline Dr
    Alexandria, LA 71303                       Metairie, LA 70003

    Green Equipment Company                    Harris Rebar Nufab LLC
    2563 Gravel Drive                          250 Stone Road
    Fort Worth, TX 76118                       Slidell, LA 70459

    Greenville Family Medical CTR, INC.        Hartman's Ag Service,Inc.
    1467 HWY 1 South                           7486 Hwy 308
    Greenville, MS 38701                       Lockport, LA 70374

    Ground Penetrating Radar Systems Inc.      Hartmans True Value Hardware
    7540 New West Road                         13171 US-90
    Toledo, OH 43617                           Boutte, LA 70039

    Guardian                                   Hayden C. Anselmi
    P.O. Box 677458                            P.O. Box 182
    Dallas, TX 75267                           Larose, LA 70373

    Gulf Coast Bank & Trust                    Heath Legendre
    200 St. Charles Avenue                     165 Star B Lane
    New Orleans, LA 70112                      Lockport, LA 70374

    Gulf Coast Orthopedic                      Heavy Duty Parts & Equip
    1001 School St                             6145 River Road
    Houma, LA 70360                            Harahan, LA 70123

    Gulf Coast Surgery Center                  Helanbak, LLC
    402 Dunn St                                1501 Hwy 13 North
    Houma, LA 70360                            Columbia, MS 39429

    Gulf Island Steel Sales                    Herc Rentals, Inc
    P.O. Box 120162                            27500 Riverview Center Blvd.
    Dallas, TX 75312                           Bonita Springs, FL 34134

    Gulfco of Louisiana, LLC                   High Five Group
    P.O. Box 320001                            1279 49th Street
    Flowood, MS 39232                          Brooklyn, NY 11231
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    Hobson Galvanizing                         Hydro Spy LLC
    2402 Engineers Rd                          P.O. Box 300247
    Belle Chasse, LA 70037                     Houston, TX 77230

    Hoffman King III                           IPFS Corp.
    847 Bayou DuLarge Road                     P.O. Box 412086
    Houma, LA 70363                            Kansas City, MO 64141

    Home Depot                                 ISN Software Corp.
    1881 Grand Caillou Road                    P.O. Box 841808
    Houma, LA 70363                            Dallas, TX 75284

    Home Depot U.S.A., INC.                    Industrial Solutions Group
    2455 Paces Ferry Road                      P.O. Box 3729
    Atlanta, GA 30339                          Houma, LA 70361

    Houma Bearing                              Infinite Energy
    1881 Grand Caillou Road                    P.O. Box #71247
    Houma, LA 70363                            Charlotte, NC 28272

    Houma Tractor                              Internal Revenue Service
    165 Simmons Drive                          P.O. Box 145595
    Houma, LA 70363                            Cincinnati, OH 45250

    Houston Specialty Ins                      Internal Revenue Service
    Post Office Box 1347                       P.O. Box 7346
    Shreveport, LA 71164                       Philadelphia, PA 19101

    Houston Specialty Insurance Co             International Corrosion Services
    800 Gessner Rd                             2424 Edenborne Avenue
    6th Floor                                  Suite 610
    Houston, TX 77024                          Metairie, LA 70001

    Hughes Network Systems, LLC                Interstate Plastics
    P.O. Box 96874                             122 Corporate Way
    Chicago, IL 60693                          Pelham, AL 35124

    Humana                                     Intuit-Quickbooks
    P.O. Box 648                               2632 Marine Way
    Carol Stream, IL 60132                     Mountain View, CA 94043

    Hydradyne, LLC                             Investar Bank
    P.O. Box 974799                            10500 Coursey Boulevard
    Dallas, TX 75397                           3rd Floor
                                               Baton Rouge, LA 70816
    Hydradyne, LLC
    2801 Peters Rd                             Investar Bank
    Harvey, LA 70058                           P.O. Box 83079
                                               Baton Rouge, LA 70884
    Hydradyne, LLC
    2000 Grand Caillou Rd                      Iron Oxide Corrosion Consulting, LLC
    Houma, LA 70363                            12127 Coldwater Cove, Lane
                                               Cypress, TX 77433
    Hydradyne, LLC
    1019 Rankin Rd                             J & B General Consulting, LLC
    Houston, TX 77073                          P.O. Box 361
                                               Cut Off, LA 70345
    Hydraulics Plus, Inc
    128 North Hollywood Road                   J & H Trucking, Inc.
    Houma, LA 70364                            P.O. Box 35
                                               Vaiden, MS 39176
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    J & K Printing                             John Deere Financial
    P.O. Box 506                               P.O. Box 650215
    13412 Highway 90, Suite B                  Dallas, TX 75265
    Boutte, LA 70039
                                               John Haile
    J Ledet's                                  909 Wiona Drive
    166 Sandra Street                          Mandeville, LA 70471
    Larose, LA 70373
                                               John McCann
    J. Wayne Plaisance, Inc.                   3687 Avant Loop
    131 E 91st Street                          Georgiana, AL 36033
    Cut Off, LA 70345
                                               Johnny Adams
    JaRo, Inc.                                 5264 Highway 1
    118 Cantrelle Drive                        Raceland, LA 70394
    Raceland, LA 70394
                                               Johnny Boudoin
    Jag Vehicle                                P.O. Box 361
    580 Dickinson Road                         Cut Off, LA 70345
    Unit F
    Alvin, TX 77511                            Jonathan D. Theriot
                                               126 Oakview Drive
    Jake's                                     Houma, LA 70364
    14001 Highway 90
    Raceland, LA 70394                         Jordan McSwain
                                               39274 Howes Cemetery Rd.
    James Barker                               Ponchatoula, LA 70454
    14117 East Main Street
    Cut Off, LA 70345                          Joseph Rochelle, Attorney at Law
                                               100 Avenue of Oaks
    James Winkler                              Destrehan, LA 70047
    4160 Silver Drive
    Mccomb, MS 39648                           Justin Johnson
                                               1967 Douglas Trace
    Jared Pannell                              Brookhaven, MS 39601
    12127 Coldwater Cove Ln
    Cypress, TX 77433                          K&K Marine, LLC
                                               P.O. Box 1502
    Jerrel J. Brunet, Jr.                      Amelia, LA 70340
    13425 East Mais St.
    Larose, LA 70373                           Kabbage Inc.
                                               925B Peachtree Street NE
    Joe's Auto Repair                          Suite 1688
    1007 East Robb Street                      Atlanta, GA 30309
    P.O. Box 232
    Summit, MS 39666                           Kaizen Consulting, Inc.
                                               P.O. Box 243
    Joe's Septic Contractors, Inc              Boutte, LA 70039
    P.O. Box 336
    Cut Off, LA 70345                          Keith Lutz
                                               2300 11th Street
    Joey's Mini Storages, LLC                  Harvey, LA 70058
    5596 Highway 1
    Lockport, LA 70374                         Kenneth Stogner
                                               1955 Hwy 48E
    John A. Mulryan Jr.                        Sandy Hook, MS 39478
    P.O. Box 1589
    Anahuac, TX 77514                          Kent Enterprise
                                               P.O. Box 195
    John Adam Robertson                        Fluker, LA 70436
    13009 Willow Drive
    Columbia, MS 39429
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    Kentwood                                   Lafourche Animal Hospital
    P.O. Box 660579                            1313 Highway 1
    Dallas, TX 75266                           Thibodaux, LA 70301

    Kenworth of Louisiana                      Lafourche Fabrication
    3699 West Park Avenue                      2438 Highway 1
    Gray, LA 70359                             Raceland, LA 70394

    Keown Water Station                        Lafourche Gazette
    4300 E.C.R. 120                            P.O. Drawer 1450
    Midland, TX 79706                          Larose, LA 70373

    Kevin Legleu                               Lafourche Gazette
    1417 Oakley Street                         12958 E. Main Street
    Thibodaux, LA 70301                        Larose, LA 70373

    Kevin Welding Service                      Lafourche Motor Company, LLC
    253 West 107th St.                         P.O. Box 10
    Cut Off, LA 70345                          Lockport, LA 70374

    Kim Susan, Inc.                            Lafourche Parish (Galliano Office)
    13334 West Main Street                     16241 East Main
    Larose, LA 70373                           Suite B
                                               Cut Off, LA 70345
    Kirk St. Pierre
    13055 Highway 1                            Lafourche Parish (Matthews Office)
    Larose, LA 70373                           4876 Highway 1
                                               Mathews, LA 70375
    Kobi Marine Services & Rental
    187 W. 103rd Street                        Lafourche Parish (Thibodaux Office)
    Highway 3235                               402 Green Street
    Cut Off, LA 70345                          Thibodaux, LA 70301

    Kristi Hebert                              Lafourche Parish Sheriff
    237 Guidry Street                          P.O. Box 5608
    Bourg, LA 70343                            Thibodaux, LA 70302

    Kyle Loupe                                 Lafourche Soccer Club
    1758 Highway 307                           4049 LA-1
    Thibodaux, LA 70301                        Raceland, LA 70394

    L & A Trucking                             Lake Area Electrical & Tech Serv.
    P.O. Box 667                               P.O. Box 13300
    Galliano, LA 70354                         Lake Charles, LA 70612

    L & B Transport                            Lance Crawford
    P.O. Box 74870                             P.O. Box 61
    Baton Rouge, LA 70874                      Lacombe, LA 70445

    LF1 Enterprises                            Landry's Lumber
    13451 Highway 90                           400 Sugarhouse Road
    Boutte, LA 70039                           Luling, LA 70070

    LIV Transport, LLC                         Landry's Outboard Motors & Repair Service LLC
    189 Modern Farms Road                      4428 US-90
    Westwego, LA 70094                         Des Allemands, LA 70030

    LWCC- Workers Comp                         Laris Insurance Agency
    2237 S. Acadian Thruway                    P.O. Box 559
    Baton Rouge, LA 70808                      Lockport, LA 70374
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    Larose Truck Stop                          Lockport Exxon
    11825 Highway 308                          407 Crescent Avenue
    Lockport, LA 70374                         Lockport, LA 70374

    Laurel Hill Hunting Club                   Lockport Farm Market and Building Supplies
    148 Col. John Pitchford Pkwy               P.O. Box 517
    Natchez, MS 39120                          Lockport, LA 70374

    LeBlanc Brothers                           Loresco, Inc.
    P.O. Box 13                                421 J M Tatum Industrial Park Dr.
    Paincourtville, LA 70391                   Hattiesburg, MS 39401

    LeBlanc Sewage and Plumbing                Louisiana CAT
    15470 Hwy 3235                             P.O. Drawer 536
    Cut Off, LA 70345                          Reserve, LA 70084

    Lebro Construction, Inc.                   Louisiana Concrete Coring & Sawing, Inc.
    129 Carruth Cemetery Lane                  P.O. Box 2934
    Greensburg, LA 70441                       Lafayette, LA 70502

    Ledets                                     Louisiana Concrete Coring & Sawing, Inc.
    166 Sandras Street                         2215 W. Willow Street
    Larose, LA 70373                           Scott, LA 70583

    Ledets                                     Louisiana Delta Marine LLC
    12085 Highway 1                            11562 Highway 1
    Larose, LA 70373                           Larose, LA 70373

    Lenard Services, LLC                       Louisiana Department of Revenue
    P.O. Box 517                               P. O. Box 66658
    West Monroe, LA 71294                      Baton Rouge, LA 70896

    Lend Spark                                 Louisiana Department of Transportation
    2554 Gateway Road                          1201 Capitol Access Road
    Carlsbad, CA 92009                         Baton Rouge, LA 70802

    Leon Duplessis & Sons Inc.                 Louisiana Department of Wildlife & Fisheries
    11214 LA-23                                2000 Quail Drive
    Belle Chasse, LA 70037                     Baton Rouge, LA 70898

    Leonard J. Chauvin P.E., P.L.S., Inc.      Louisiana Department of Wildlife & Fisheries
    627 Jackson Street                         P.O. Box 14796
    Thibodaux, LA 70301                        Baton Rouge, LA 70898

    Let Us Answer                              Louisiana Machinery
    905 S. Lewis Sreet                         P.O. Drawer 536
    Raceland, LA 70394                         Reserve, LA 70084

    Liberty, LLC                               Louisiana Office of Motor Vehicles
    3103 Cypress St.                           7979 Independence Blvd.
    Suite 3, #260                              Baton Rouge, LA 70806
    West Monroe, LA 71291
                                               Louisiana Office of Motor Vehicles
    Liquidity Resource, Inc                    P.O. Box 64886
    3350 SW 148th Avenue                       Baton Rouge, LA 70896
    Hollywood, FL 33027
                                               Louisiana State Licensing Board for Contracto
    Lirette Dirt Service, LLC                  2525 Quail Drive
    5644 HWY 56                                Baton Rouge, LA 70808
    Chauvin, LA 70344
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    Louisiana State Troopers Association       Margan Equipment Rentals
    1676A Dallas Drive                         1814 Engineers Road
    Baton Rouge, LA 70806                      Belle Chasse, LA 70037

    Louisiana Testing & Inspection Inc         Mark Lewis
    P.O. Box 2934                              6709 Avenue A
    Lafayette, LA 70502                        New Orleans, LA 70124

    Louisiana Treated Lumber                   Mark's Airboat
    723 Webster Street                         1364 Chatsworth Road
    P.O. Box 368                               Franklin, LA 70538
    Kenner, LA 70063
                                               Martin and Pellegrin, CPAs
    Louisiana Workforce Commission             103 Ramey Road
    1001 N. 23rd Street                        Houma, LA 70360
    Baton Rouge, LA 70802
                                               Masse Contracting, Inc.
    Lowe's                                     P.O. Box 203152
    1605 Curtis Bridge Road                    Dallas, TX 75320
    Wilkesboro, NC 28697
                                               Matcor, Inc.
    Lowe's                                     20302 Park Row Drive
    1000 Lowe's Blvd.                          Suite 100
    Mooresville, NC 28117                      Katy, TX 77449

    Lutz Welding                               McDonald Sanitation Services, LLC
    2400 11th Street                           P.O. Box 107
    Harvey, LA 70058                           Thibodaux, LA 70302

    M&L Industires, LLC                        MediaRite, LLC
    1210 St. Charles Street                    P.O. Box 948
    Houma, LA 70360                            Houma, LA 70361

    M.C. Miller Co.                            Michael Cheramie Jr.
    11640 U.S. Highway 1                       510 Chester Lee Street
    Sebastian, FL 32958                        Larose, LA 70373

    MESA                                       Michael Zeringue
    Tulsa, OK 74182                            10364 Highway 1
                                               Lot 1
    MPS, LLC                                   Lockport, LA 70374
    P.O. Box 218844
    Houston, TX 77218                          Mid South Diesel, Inc.
                                               36 Lee Avenue
    MS Dept Of Human Services                  Hattiesburg, MS 39401
    200 S. Lamar Street
    Jackson, MS 39201                          MidSouth Bank
                                               102 Versailles Blvd.
    MSES Consltants, Inc.                      P.O. Box 3745
    609 West Main Street                       Lafayette, LA 70502
    P.O. Drawer 190
    Clarksburg, WV 26302                       Midnight Advance, LLC
                                               1080 McDonald Ave
    Mac McHenry                                Brooklyn, NY 11230
    1057 Laurie Lane
    Saint Martinville, LA 70582                Mike Joffrion
                                               529 St. George Rd.
    Magnolia Mats & Environmental Services     Schriever, LA 70395
    P.O. Box 843
    Ackerman, MS 39735                         Mike Trouard
                                               9429 Roslyn Drive
                                               River Ridge, LA 70123
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    Millennium Supply Boats, LLC               National Employee Screening
    810 Crescent Avenue                        2111 Eisenhower Avenue
    Lockport, LA 70374                         Suite 300
                                               Alexandria, VA 22314
    Mission Vacuum & Pump Truck
    P.O. Box 1935                              National Oilwell Varco
    Mission, TX 78573                          P.O. Box 201202
                                               Dallas, TX 75320
    Mississippi Department Of Human Services
    P.O. Box 352                               National Services Corporation
    Jackson, MS 39205                          P.O. Box 12535
                                               Lake Charles, LA 70611
    Mitch's Landscaping and Lawn Care, Inc.
    13957 East Main St.                        Neely Trucking and Excavating, Inc.
    Larose, LA 70373                           P.O. Box 1245
                                               Florence, MS 39073
    Morgan City Rentals
    125 McCarty Street                         Neff Rental
    Houston, TX 77029                          P.O. Box 405138
                                               Atlanta, GA 30384
    Morgan Equipment Rentals
    1814 Engineers Road                        Neil's Small Engine
    Belle Chasse, LA 70037                     13928 West Main
                                               Suite A
    Morvant's General Repair                   Larose, LA 70373
    4565 Highway 1
    Raceland, LA 70394                         New York Life
                                               634 Village Lane North
    Mosley Mfg. & Machine Works                Suite 201
    P.O. Box 4922                              Mandeville, LA 70471
    Greenville, MS 38704
                                               Newpark Mats & Integrated Services
    Munoz Foundation Drilling Inc              P.O. Box 733148
    P.O. Box 446                               Dallas, TX 75373
    Weslaco, TX 78599
                                               Next Wave
    Myles Vicknair                             5757 Blue Lagoon Drive
    1730 Harvest Drive                         Suite 170
    Houma, LA 70360                            Miami, FL 33126

    N & N Auto Sales                           Nicholas W. Bates
    6955 W. Main Street                        280 Waltculpepper Rd.
    Houma, LA 70360                            Laurel, MS 39443

    NACE International                         Nobles Road Construction, Inc.
    1440 South Creek Dr.                       5401 South 1st Street
    Houston, TX 77084                          Abilene, TX 79605

    NAPA                                       Northern Technologies Int'l
    500 Shrewbury Road                         P.O. Box 932212
    New Orleans, LA 70121                      Cleveland, OH 44193

    NFS Leasing, Inc.                          Northshore Trailer
    900 Cummings Center                        39362 E Porter's River Rd
    Beverly, MA 01915                          Pearl River, LA 70452

    National Compliance Management Service     Northwestern Mutual
    P.O. Box 725                               11440 Lake Sherwood
    Hutchinson, KS 67504                       Suite D
                                               Baton Rouge, LA 70816
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    Nustar Foundation                          Patton's Service Company
    19003 IH-10 W                              P.O. Box 120
    San Antonio, TX 78257                      Ruston, LA 71273

    O'Drill-MCM                                Paul Lozier
    5055 Cranswick Street                      1328 LA Avenue
    Houston, TX 77041                          Bogalusa, LA 70427

    OMS-Drug                                   Paul's Precision Paint
    144 Valhi Lagoon Crossing                  615 East Saint Anne
    Houma, LA 70360                            Hobbs, NM 88240

    OQSG - Operator                            Pave Plus
    600 Jefferson Street                       315 Brule Guillot Rd.
    Lafayette, LA                              Thibodaux, LA 70301

    Office Depot                               Pearsons Trailer
    1500 Westbank Expressway                   1002 Duncan St
    Harvey, LA 70058                           Kenner, LA 70062

    Office of the U.S. Trustee                 Pelican Waste & Debris, LLC
    400 Poydras Street                         P.O. Box 3694
    Texaco Center, Suite 2110                  Houma, LA 70361
    New Orleans, LA 70130
                                               Performance Glass Works
    Olympus NDT, Inc.                          P.O. Box 1057
    P.O. Box #822196                           Raceland, LA 70394
    Philadelphia, PA 19182
                                               Performance Powersports, LLC
    Origins CF, Inc.                           1816 Martin Luther King Jr. Blvd.
    2800 Post Oak                              Houma, LA 70360
    Suite 4100
    Houston, TX 77056                          Petroquip
                                               P.O. Box 1806
    Outdoor Express                            Harvey, LA 70059
    14252 Highway 90
    Boutte, LA 70039                           Pheumatic Specialties
                                               829 Saadi Street
    PDI Solutions                              Houma, LA 70363
    P.O. Box 130
    Gibson, LA 70356                           Philip C. Boudreaux III
                                               1021 9th Street
    PICS Auditing, LLC                         Gretna, LA 70053
    P.O. Box 51387
    Irvine, CA 92619                           Phillip Harmon
                                               242 Plaisance Drive
    Pacific Gulf Wire Rope, Inc.               Raceland, LA 70394
    1504 Engineers Road
    Belle Chasse, LA 70037                     Pike County Court
                                               P.O. Box 509
    Packard Truck Lines, LLC                   2109 Jesse Hall Mem Rd.
    P.O. Box1536                               Magnolia, MS 39652
    Harvey, LA 70059
                                               Pinch Flatbed, Inc.
    Parish Truck Sales, Inc.                   18515 Aldine Westfield Rd
    10459 Airline Highway                      Houston, TX 77073
    Saint Rose, LA 70087
                                               Pitrebilt, LLC
    Pat Morgan                                 P.O. Box 541
    312 East 15th Street                       Cut Off, LA 70345
    Crowley, LA 70526
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    Plaisance Dragline & Dredging Co., Inc.    QuarterSpot, Inc.
    P.O. Box 578                               333 7th Avenue
    Golden Meadow, LA 70357                    Suite 1402
                                               New York, NY 10001
    Pneumatic Specialties
    829 Saadi St.                              REECO Rental & Supply, Inc
    Houma, LA 70363                            P.O. Box 5801
                                               Thibodaux, LA 70302
    Port Marine Vac Service, Inc.
    256 Thompson Road                          RL Doskocil, Inc
    Houma, LA 70363                            P.O. Box 505
                                               Crosby, TX 77532
    Powerplan
    21310 Network Place                        Raceland AG
    Chicago, IL 60673                          3932 LA 308
                                               Raceland, LA 70394
    Prejeant Trucking, LLC
    184 Cedar Grove Road                       Raceland Auto Center
    Labadieville, LA 70372                     3913 Highway 308
                                               Raceland, LA 70394
    Pressure Quip, LLC
    209 Venture Blvd.                          Rainbow Rental & Fishing Tools, Inc.
    Houma, LA 70360                            P.O.Box 6533
                                               Laurel, MS 39441
    Primoris Mechanical Contractors
    1010 County Rd. 59                         Raleigh Dardar
    Rosharon, TX 77583                         141 West 137th Street
                                               Cut Off, LA 70345
    Progressive Insurance
    P.O. Box 105428                            Ram Tool Construction Supply Co.
    Atlanta, GA 30348                          10131 West Airline Highway
                                               Saint Rose, LA 70087
    Providence Engineering & Design, LLC
    1201 Main Street                           Randy Moertle and Associates, Inc.
    Baton Rouge, LA 70802                      1008 Mar Drive
                                               Lockport, LA 70374
    Puckett Machinery Company
    P.O. Box 321033                            Rapid Drilling
    Flowood, MS 39232                          P.O. Box 81277
                                               Lafayette, LA 70598
    Qualification Solutions Group
    P.O. Box 3729                              Ray Collins
    Houma, LA 70361                            11872 LA 308
                                               Larose, LA 70373
    Quality Engineering & Surveying, LLC
    18350 LA Highway 42                        Rayborn Drilling
    Denham Springs, LA 70726                   692 US-61
                                               Natchez, MS 39120
    Quality Fab & Mechanical
    10308 E Airline Hwy                        Rebstock
    Saint Rose, LA 70087                       18708 W Main Street
                                               Galliano, LA 70354
    Quality Printing & Embroidery, LLC
    P.O. Box 69                                Redhawk Industrial Services, LLC
    Galliano, LA 70354                         7389 Florida Blvd.
                                               Suite 200C
    Quality Sitework Materials                 Baton Rouge, LA 70806
    P.O. Box 640490
    Kenner, LA 70064                           ReliaPOLE Inspection Services Company
                                               32628 Decker Prairie Road
                                               Suite 1
                                               Magnolia, TX 77355
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    Reliable Tire & Truck                      Rouse's Enterprises, L.L.C.
    1494 Highway 90                            1301 St. Mary Street
    Raceland, LA 70394                         Thibodaux, LA 70301

    Renovations, Inc.                          Roy Love
    16815 East Main Street                     P.O. Box 1064
    Cut Off, LA 70345                          Hahnville, LA 70057

    Resource Leasing                           Roy's Body Shop
    1501 Hamburg Turnpike                      193 Buchannan St.
    Suite 301                                  Larose, LA 70373
    Wayne, NJ 07470
                                               Ryals Investments LLC
    Retif Oil & Fuel                           3323 Sherbrooke Lane
    P. O. Box 919138                           Harvey, LA 70058
    Dallas, TX 75391
                                               Ryan Pitre Trucking
    Revolution Machine, LLC                    P.O. Box 541
    609 East Main St.                          Cut Off, LA 70345
    Lockport, LA 70374
                                               S & E Fabrication, LLC
    Richard Miranda Jr.                        P.O. Box 322
    423 Azalea Dr.                             Simsboro, LA 71275
    Baytown, TX 77520
                                               S.J. Blue Guercio Contracting and Excavating
    Rickey Foret                               P.O. Box 236
    116 Central Lafourche Dr.                  White Castle, LA 70788
    Raceland, LA 70394
                                               S.J.T., Inc. (Mr. Sal)
    Robert P. Cuccia                           1209 Airline Park Blvd.
    311 Goode Street                           Metairie, LA 70003
    Houma, LA 70360
                                               S.T.A.T. Waste Stream Services, Inc.
    Rodco Trucking                             P.O. Box 107
    P.O. Box 1739                              Houma, LA 70361
    Raceland, LA 70394
                                               SAIA
    Rodney Peugh                               P.O. Box 730532
    P.O. Box 871                               Dallas, TX 75373
    Jal, NM 88252
                                               SBL Construction
    Roger E. Braud                             2600 S. Alex Plaisance Blvd.
    305 Marcello Blvd.                         Golden Meadow, LA 70357
    Thibodaux, LA 70301
                                               SLHS
    Rogers, Carter, & Payne                    P.O. Box 1369
    4415 Thornhill Avenue                      Cut Off, LA 70345
    Shreveport, LA 71106
                                               SOS Capital
    Ronnie Lutz                                540 Madison Avenue
    2221 Timbers Dr.                           New York, NY 10022
    Harvey, LA 70058
                                               SPS-Construction, Repair, and Restoration
    Ronnie's Airboats Unlimited, LLC           942 Highway 90 East
    9070 Frontage Road                         Raceland, LA 70394
    Franklin, LA 70538
                                               Safety & Training Consultants
    Ronnie's Airboats Unlimited, LLC           219 Venture Boulevard
    9070 Frontage Rd                           Houma, LA 70360
    Centerville, LA 70522
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    Safety Plus                                Songy's Sporting Goods, Inc.
    4254 Halls Mill Road                       3044 Barrow Street
    Mobile, AL 36693                           Houma, LA 70360

    Sams Club                                  Sonny Blackard
    2174 Martin Luther King Blvd.              1068 Highway 1
    Houma, LA 70360                            Thibodaux, LA 70301

    Sarah Hall                                 South Lafourche High School
    41260 Hwy 445                              P.O. Box 1369
    Ponchatoula, LA 70454                      Cut Off, LA 70345

    Scott Lee                                  South Louisiana Bank
    P.O. Box 264                               1362 W. Tunnel Blvd
    Cut Off, LA 70345                          Houma, LA 70361

    SeaLevel Construction, Inc.                South Louisiana Testing & Inspection
    P.O. Box 1037                              129 Business Court
    Thibodaux, LA 70302                        Houma, LA 70360

    Sean Bartholomew                           South Star Capital
    208 East 48th Street                       830 Lowcountry Blvd.
    Cut Off, LA 70345                          Suite 201
                                               Mount Pleasant, SC 29464
    Select Office Systems
    P.O. Box 11777                             Southeast Rubber & Safety
    Burbank, CA 91510                          P.O. Box 1568
                                               Chattanooga, TN 37401
    Service Electric
    P.O. Box 2000                              Southern Glass of Lafourche, Inc.
    Kilgore, TX 75663                          P.O. Box 747
                                               Cut Off, LA 70345
    Seven Oaks Capital Associates, LLC
    P. O. Box 4869                             Southern Mud Motors, LLC
    Houston, TX 77210                          780 East Main Street
                                               Lockport, LA 70374
    Shallow Water Equipment
    P.O. Box 5682                              Southern Pipe & Supply
    Thibodaux, LA 70302                        P.O. Box 17786
                                               Tupelo, MS 38802
    Shamrock Vacuum Service
    P.O. Box 476                               Southern Signs & Designs
    Daisetta, TX 77533                         634 Highway 308
                                               Thibodaux, LA 70301
    Shane Thibodaux
    133 East 50th Street                       Southern Trailer Works, LLC
    Cut Off, LA 70345                          633 Highway 308
                                               Thibodaux, LA 70301
    Sheffield Financial
    P.O. Box 580229                            Southern Wire
    Charlotte, NC 28258                        1630 Highway 90 E
                                               Raceland, LA 70394
    Ship-N-Geaux
    213 Saint Mary St.                         Southstar Financial, LLC
    Thibodaux, LA 70301                        900 Wando Park Blvd
                                               Mount Pleasant, SC 29464
    Slats Lucas Aggregates, LLC
    P. O. Box 572                              Spangler Engineering, LLC
    Hattiesburg, MS 39403                      214 Southwest Railroad Ave.
                                               Hammond, LA 70401
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    Specialty Polymer Coat Sportsman's Cycle & Ma   Submar Inc.
    708 Brashear Ave.                               P.O. Box 4417
    Morgan City, LA 70380                           Houma, LA 70361

    Spots & Specks Charters, LLC                    Sugarland Hardware
    18120 W. Main                                   4560 Highway 1
    Galliano, LA 70354                              Suite 1B
                                                    Raceland, LA 70394
    Sprint
    P.O. Box 54977                                  Summit Electric Supply Co., Inc.
    Los Angeles, CA 90054                           2900 Stanford Drive NE
                                                    Albuquerque, NM 87107
    St. Charles Parish
    15045 River Road                                Sunbelt Rentals Inc.
    P.O. Box 302                                    P.O. Box 409211
    Hahnville, LA 70057                             Atlanta, GA 30384

    Stacy Smith                                     Sunshine Quality Solutions, LLC
    10330 S. Morning View                           1524 Ridgefield Road
    Santa Fe, TX 77510                              Thibodaux, LA 70301

    Stallion Construction                           Superior Shipyard & Fabrications, Inc.
    P.O. Box 842364                                 20987 Highway 1
    Dallas, TX 75284                                Golden Meadow, LA 70357

    State Bank & Trust                              T-Rex Services
    P.O. Box 745                                    P.O. Box 925067
    Raceland, LA 70394                              Houston, TX 77292

    State Farm Bank                                 TCA Capital
    P.O. Box 3299                                   777 3rd Avenue
    Milwaukee, WI 53201                             New York, NY 10017

    State Machinery                                 TEAM Professional Services, Inc.
    P.O. Box 1789                                   P.O. Box 720534
    Kenner, LA 70063                                Norman, OK 73070

    Stateline Vacuum Services, LLC                  TJ's Shell Station d/b/a Carols Shell
    P.O. Box 229                                    P.O. Box 523
    Haynesville, LA 71038                           Lockport, LA 70374

    Steel Supply, L.P.                              TPS Alert, LLC
    10600 Telephone Road                            8165 S. Mingo Road
    Houston, TX 77075                               Suite 100
                                                    Tulsa, OK 74133
    Stephon Robichaux
    1112 High Street                                TWIC
    Houma, LA 70360                                 2544 Williams Blvd.
                                                    Kenner, LA 70062
    Steven Hall
    695 South 4th St                                TXU Energy
    Ponchatoula, LA 70454                           P.O. Box 650638
                                                    Dallas, TX 75265
    Stitch-N-Time
    121 Abel Street                                 Tab Bank
    Lockport, LA 70374                              4185 Harrison Blvd.
                                                    Suite 200
    Stringer's Oilfield Service, Inc.               Ogden, UT 84403
    P.O. Box 471
    Columbia, MS 39429                              Tank Specialties LLC
                                                    P.O. Box 731152
                                                    Dallas, TX 75373
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    Tatco Machine & Repair                     Thompson Brothers Drilling, Inc.
    1953 Grand Caillou Rd                      538 Moselle Seminary Rd.
    Houma, LA 70363                            Moselle, MS 39459

    Tax Guard, Inc                             Tidewater Dock Inc.
    1750 14th Street                           P.O. Box 580
    Boulder, CO 80302                          Galliano, LA 70354

    Taylor J Champagne                         Tim's Repair Service
    197 Blue Ridge Drive                       60012 Little Road
    Gray, LA 70359                             Smithville, MS 38870

    Teal Water Services MCI, LLC               Tire Kingdom
    3517 North 6th Street                      P.O. Box 406010
    Abilene, TX 79603                          Atlanta, GA 30384

    Terrebonne Ford                            Titanium Electrode Products Inc.
    339 St. Charles Street                     P.O. Box 2467
    Houma, LA 70360                            Stafford, TX 77497

    Terrebonne Parish                          Tod Baudoin
    P. O. Box 2768                             399 North Carol St.
    Houma, LA 70361                            Lockport, LA 70374

    Terrel Hebert                              Todd Baudoin
    237 Guidry St.                             399 North Carol Street
    Bourg, LA 70343                            Lockport, LA 70374

    Terry's Bits and Machine Shop              Toler Wrecker Service & Recovery
    360 Pine Grove Church Road                 1557 Highway 1 North
    Foxworth, MS 39483                         Greenville, MS 38703

    Texas Alcohol and Drug Testing Service     Tom Griffith
    16903 Red Oak Drive                        320 Mayson Street
    Suite 130                                  Columbia, MS 39429
    Houston, TX 77090
                                               Total Instrument & Electrical Services
    Texas Comptroller                          P.O. Box 3742
    111 E. 17th Street                         Lafayette, LA 70502
    Austin, TX 78774
                                               Total Safety U.S., Inc.
    Texas Rent                                 P.O. Box 654171
    3502 Warren Rd                             Dallas, TX 75265
    Pearland, TX 77584
                                               Tower Loan of Houma
    Texas Workforce Commission                 814 Grand Caillou Road
    101 E. 15th Street                         Suite 16
    Room 570                                   Houma, LA 70363
    Austin, TX 78778
                                               Trident Supply LLC
    The Rent Zone, LLC                         3830 Euphrosine St.
    P.O. Box 503                               New Orleans, LA 70125
    Boutte, LA 70039
                                               Triple B Construction
    Thomas Barker                              P.O. Box 196
    14117 East Main Street                     Vacherie, LA 70090
    Cut Off, LA 70345
                                               Triple Son Wholesale Timbers
    Thomas Fortenberry                         14136 Hwy 3235
    145 Sunny Acers Street                     P.O. Box 338
    Lockport, LA 70374                         Cut Off, LA 70345
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    Tubing & Metric Hydraulice, Inc.           Universal Premium-Fuelman
    P.O. Box 2496                              P.O. Box 923928
    Alvin, TX 77512                            Norcross, GA 30010

    TxTag                                      Universal Rectifiers, Inc.
    P.O. Box 650749                            P.O. Box 1640
    Dallas, TX 75265                           Rosenberg, TX 77471

    U.S. Attorney, EDLA                        Vacuum Services Group
    650 Poydras Street                         P.O. Box 2303
    Suite 1600                                 Gulfport, MS 39505
    New Orleans, LA 70130
                                               Vaiden Farm Supply
    U.S. Department of Transportation          420 Court Street
    1200 New Jersey Ave. S.E.                  Vaiden, MS 39176
    Washington, DC 20590
                                               Vecta Environmental Services, LLC
    U.S. Securities and Exchange Commission    P.O. Box 1787
    950 East Paces Ferry Road                  Gonzales, LA 70707
    Suite 900
    Atlanta, GA 30326                          Veriforce
                                               1575 Sawdust Road
    UES Enrollment Center                      Suite 600
    Building 8045                              Spring, TX 77380
    309 Goode Street, Suite A
    Houma, LA 70360                            Viasat (Exede) Internet
                                               6155 El Camino Real
    US Fusion & Specialty Construction         Carlsbad, CA 92009
    2324 S. Commerce Ave.
    Gonzales, LA 70737                         Viasat Communications (EXEDE)
                                               6155 El Camino Real
    Uline                                      Carlsbad, CA 92009
    P.O. Box 88741
    Chicago, IL 60680                          Vinces Auto Repair
                                               P.O. Box 1270
    UniFirst Holdings, Inc                     Boutte, LA 70039
    2744 Lexington Avenue
    Kenner, LA 70062                           Viper Valve and Supply, LLC
                                               P.O.Box 697
    United Rentals                             Schriever, LA 70395
    P.O. Box 840514
    Dallas, TX 75284                           Vulcan Construction Materials, LLC
                                               P.O. Box 101131
    United Site Services of Mississippi        Atlanta, GA 30392
    P.O. Box 660475
    Dallas, TX 75266                           W & O Supply Inc.
                                               P.O. Box 933067
    United States Treasury                     Atlanta, GA 31193
    Ogden, UT 84201
                                               WG Financial
    United Vision Logistics                    141 North East 3rd Avenue
    P.O. Box 975357                            Miami, FL 33132
    Dallas, TX 75397
                                               Waggaman Auto
    United Way for South Louisiana             335 Dandelion Drive
    600 Academy Street                         Westwego, LA 70094
    Houma, LA 70360
                                               Waguespack Oil Company, Inc.
    UnitedHealthcare                           P.O. Box 326
    P.O. Box 94017                             Thibodaux, LA 70302
    Palatine, IL 60094
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    Waste Management                           Yellow Pages United
    P.O.Box 43350                              P.O. Box 53282
    Phoenix, AZ 85080                          Atlanta, GA 30355

    Waste Management of Louisiana, L.L.C.      Yellowstone Capital
    1001 FANNIN STREET                         1177 W Loop S
    Houston, TX 77002                          Houston, TX 77027

    Waste Management of Louisiana, L.L.C.      Yull Mack
    3867 Plaza Tower Drive                     13859 East Main
    Baton Rouge, LA 70816                      Larose, LA 70373

    Waste Management of Louisiana, L.L.C.      Zeringue Law Group
    5615 Corporate Boulevard                   P.O. Box 759
    Suite 400B                                 Thibodaux, LA 70302
    Baton Rouge, LA 70808
                                               Zerust Oil & Gas
    We HotShot                                 4201 Woodland Road
    P.O. Box 9313                              Circle Pines, MN 55014
    Longview, TX 75608
                                               Zydeco's II
    West Jeff Industrial Medicine              13228 Highway 90
    107 Wall Blvd.                             Boutte, LA 70039
    Suite A
    Gretna, LA 70056

    Westlake Financial
    P.O. Box 54807
    Los Angeles, CA 90054

    Wilco Manufacturing, LLC
    P.O. Box 80829
    Lafayette, LA 70598

    Wingfoot
    300 Edwards Avenue
    New Orleans, LA 70123

    Winzer Corp.
    P.O. Box 671482
    Dallas, TX 75267

    Wood Family Properties
    273 Walnut Street
    P.O. Box 1069
    Colorado City, TX 79512

    World Business Lenders
    101 Hudson Street
    33rd Floor

    World Global Financing, Inc
    141 North East 3rd Avenue
    Miami, FL 33132

    XPO Logistics Freight, Inc
    P.O. Box 5160
    Portland, OR 97208

    Yak Mat
    2438 Hwy 98 E
    Columbia, MS 39429
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                                United States Bankruptcy Court
                                 Eastern District of Louisiana




            Southern Pipeline Services LLC
   In re:                                                         Case No. 19-

                                                                  Chapter    7
                        Debtor(s)




                                Verification of Creditor Matrix



          The above-named Debtor(s) hereby verify that the attached list of creditors is
   true and correct to the best of their knowledge.




                 09/26/2019                         /s/ Corey Zeringue
   Date:
                                                    Signature of Individual signing on behalf of debtor

                                                    Manager
                                                    Position or relationship to debtor
